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                                Exhibit
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                                    UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF COLUMBIA

                                                                    )
                                                                    )
       In Re Third Party Subpoena to Fusion GPS                     )
                                                                    )   Misc. Case No. 1:17-mc-02171-TSC
       c/o Zuckerman Spaeder LLP                                    )
       1800 M Street, N.W.                                          )
       Washington, D.C. 20036                                       )
                                                                    )
                                                                    )

       Aleksej Gubarev, XBT Holding S.A., and                       )
       Webzilla, Inc.,                                              )
                         Plaintiffs,                                )
                                                                    )   Case No. 17-cv-60426-UU
                                  v.                                )
                                                                    )
       Buzzfeed, Inc. and Ben Smith,                                )
                                                                    )
                            Defendants.                             )

   REPLY IN SUPPORT OF NON-PARTY FUSION GPS’S MOTION TO QUASH THIRD-
    PARTY SUBPOENA, OR IN THE ALTERNATIVE, FOR A PROTECTIVE ORDER

            Plaintiffs’ opposition to Fusion’s motion to quash proceeds on the false premise that

   Fusion, despite being a non-party, is subject to the same discovery as an opposing party. Worse,

   Plaintiffs’ arguments reveal that the discovery they seek is actually being sought for use in a

   potential future claim against Fusion and has little, if any, relevance to its pending claims against

   Buzzfeed.1 This is a plainly improper use of a Rule 45 subpoena and Fusion’s motion to quash

   ought to be granted on that basis alone. See, e.g., Oppenheimer Fund, Inc. v. Sanders, 437 U.S.

   340, 352-53 & n.17 (1978) (“when the purpose of a discovery request is to gather information for

   use in proceedings other than the pending suit, discovery properly is denied”); Phillips & Cohen,

   1
     Indeed, the opening sentences to Plaintiffs’ opposition read: “Fusion GPS insists that it is an entity that is
   accountable to no one. Instead, Fusion insists that it should be permitted to make and aggressively disseminate
   defamatory statements, and then hide from discovery . . . .” Pls.’ Opp’n to Fusion GPS’s Mot. to Quash Subpoena
   or, In the Alternative, For a Protective Order (“Opp’n”) at 1. These sentences evidence Plaintiffs’ true intent to sue
   Fusion; non-party discovery is not about “accountability.”
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   LLP v. Thorpe, 300 F.R.D. 16, 18 (D.D.C. 2013) (granting motion to quash third-party subpoena

   where the subpoena was “a naked attempt to gather information for use in evaluating, and

   perhaps litigating, a claim against” the third-party).2

            Even if Plaintiffs could establish how a specific discovery request might conceivably

   advance their case against Buzzfeed, they must also demonstrate that their need for the

   documents or information outweighs Fusion’s right as a nonparty to be free of the undue burden

   of the demanded discovery. Furthermore, as we demonstrated in our initial motion to quash,

   Plaintiffs’ discovery requests implicate Fusion’s First Amendment rights to maintain the

   confidentiality of much of the information Plaintiffs seek.                     Thus, Plaintiffs must not only

   demonstrate that their discovery imposes no undue burden, but that the requested discovery

   “goes to the heart of the matter.” Wyoming v. U.S. Dep’t of Agric., 208 F.R.D. 449, 455 (D.D.C.

   2002) (quoting Int’l Union v. Nat’l Right to Work Legal Def. & Ed. Found., Inc., 590 F.2d 1139,

   1147 (D.C. Cir. 1978)). For each of the document requests and subjects of inquiry in the

   subpoena discussed in Fusion’s motion to quash, Plaintiffs fail to meet their burden.

       I.       Legal Standard

            Plaintiffs’ articulation of the applicable legal standard misleadingly suggests that

   nonparty discovery under Federal Rule of Civil Procedure 45 is identical to party discovery

   under Federal Rule of Civil Procedure 26. See Opp’n 4-5. They quote a paragraph from In re


   2
     See also, e.g., Pac. Century Int’l, Ltd. v. Does 1-37, 282 F.R.D. 189, 195-96 (N.D. Ill. 2012) (denying motion to
   compel where discovery was intended to identify additional entities to sue); Blue Angel Films, Ltd. v. First Look
   Studios, Inc., 2011 WL 830624, at *1–2 (S.D.N.Y. Mar. 9, 2011) (granting motion to quash third-party subpoena
   that sought information for use in claims against subpoena recipient on the grounds that “[s]ince [the subpoena
   recipient] is not now a party to this action, information relevant only to potential claims against that entity is not
   discoverable”); Well-Made Toy Mfg. Corp. v. Lotus Onda Indus. Co., 2002 WL 72930, at *4 (S.D.N.Y. Jan. 17,
   2002) (denying discovery where “it appears that Plaintiff was merely seeking to learn about other U.S. companies it
   could sue”); Insituform Techs., Inc. v. Cat Contracting, Inc., 914 F. Supp. 286, 287 (N.D. Ill. 1996) (granting motion
   to quash third-party subpoena where “[t]he content and broadness of plaintiffs’ discovery request raise the suspicion
   that plaintiffs are attempting to circumvent discovery rules in a lawsuit that plaintiffs may be planning to file against
   [the third party subpoena recipient]”).

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   Denture Cream Products Liability Litigation, 292 F.R.D. 120, 123 (D.D.C. 2013) about the

   scope of permissible discovery, but neglect to include the following paragraph, which explains

   the affirmative obligation to refrain from imposing an undue burden on third parties:

                  “The text of Rule 45 makes quite clear that parties and attorneys
                  who issue subpoenas have an affirmative duty to
                  prevent undue burden or expense to the persons subject to the
                  subpoena,” Millennium TGA, Inc. [v. Comcast Cable
                  Commc’ns], 286 F.R.D. [8,] 11 [(D.D.C. 2012)] (citing Fed. R.
                  Civ. P. 45(c)(1)), which thus also requires

                          district courts in [a]ll discovery to consider a number of
                          factors potentially relevant to the question of undue burden,
                          including:     whether       the discovery is    unreasonably
                          cumulative or duplicative; whether the discovery sought is
                          obtainable from some other source that is more convenient,
                          less burdensome, or less expensive; and whether
                          the burden or expense of the proposed discovery outweighs
                          its likely benefit, taking into account the needs of the case,
                          the amount in controversy, the parties’ resources, the
                          importance of the issues at stake in the litigation, and the
                          importance of the proposed discovery in resolving the
                          issues.

                  Watts [v. SEC], 482 F.3d [501,] 509 [D.C. Cir. 2007)] (citations
                  and quotation marks omitted). Accordingly, a court considering a
                  motion to compel production pursuant to Rule 45 “has the
                  discretion      to limit discovery to   prevent undue expense      to
                  third parties, even if the discovery sought is within the permissible
                  scope” of the Federal Rules of Civil Procedure. Millennium TGA,
                  Inc., 286 F.R.D. at 11.

   In re Denture Cream Prod. Liab. Litig., 292 F.R.D. at 123–24. Any discussion of these factors is

   tellingly missing from Plaintiffs’ opposition, and Plaintiffs fail to recognize that non-party status

   is an additional and important factor in evaluating whether a subpoena imposes an undue burden.

   See N. Carolina Right to Life, Inc. v. Leake, 231 F.R.D. 49, 51 (D.D.C. 2005); Wyoming, 208

   F.R.D. at 455; see also Andrades v. Holder, 286 F.R.D. 64, 66 (D.D.C. 2012) (granting motion to

   quash nonparty subpoena where requests were not “narrowly tailored”); Cusumano v. Microsoft



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   Corp., 162 F.3d 708, 717 (1st Cir. 1998) (“concern for the unwanted burden thrust upon non-

   parties is a factor entitled to special weight in evaluating the balance of competing needs”).

          Plaintiffs even obfuscate what Federal Rule of Civil Procedure 26 requires, failing to

   mention Rule 26(b)(2)(C), which states that “the court must limit the . . . extent of discovery

   otherwise allowed . . . if it determines that: (i) the discovery sought is unreasonably cumulative

   or duplicative, or can be obtained from some other source that is more convenient, less

   burdensome, or less expensive; (ii) the party seeking discovery has had ample opportunity to

   obtain the information by discovery in the action; or (iii) the proposed discovery is outside the

   scope permitted by Rule 26(b)(1).” Id. (emphasis added).

          Given that the material that Plaintiffs seek to discover was produced in connection with a

   hotly contested U.S. presidential election, there is no question that the discovery requests

   implicate Fusion’s First Amendment activities.        And yet, Plaintiffs’ opposition completely

   disregards the requirements for obtaining discovery when First Amendment interests are at stake.

   “The D.C. Circuit has set out principles to guide a trial court’s decision in cases involving the

   implication of a First Amendment right in the discovery context. Before compelling discovery,

   this court must assess (1) whether the information goes to the ‘heart of the lawsuit,’ (2) whether

   the party seeking the discovery sought the information through alternative sources, and (3)

   whether the party seeking disclosure made reasonable attempts to obtain the information

   elsewhere.” Wyoming, 208 F.R.D. at 455 (D.D.C. 2002) (citing and quoting Int'l Union, 590

   F.2d at 1147)).     Plaintiffs do not even attempt to argue that they have satisfied these

   requirements.




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       II.      Plaintiffs’ Discovery Requests Are Largely Irrelevant to Their Case against
                Buzzfeed and Would Impose an Undue Burden on Fusion.

             Plaintiffs are suing Buzzfeed and its editor-in-chief for publishing the purportedly

   defamatory statements about Plaintiffs in the December Memo. The suit will turn on Buzzfeed’s

   state of mind at the time of publication and whether an applicable privilege protected the

   publication. Plaintiffs nonetheless assert that the fact that Buzzfeed may argue the truth of the

   statements as a defense somehow opens the door to wide-ranging discovery of Fusion. This

   assertion is particularly unpersuasive when, as Plaintiffs well know: (1) Buzzfeed published the

   Dossier (including the December Memo) with an express statement that the “allegations” were

   “unverified,” “unconfirmed,” and had at least some “clear errors;”3 and (2) Fusion did not create

   or author the December Memo, and did not give it to Buzzfeed. See Opp’n 2-3; id., Ex. 1 (Steele

   Defence ¶ 19); Ex. 4 (Disc. Hr’g Tr. 8-9, Gubarev v. Buzzfeed, No. 0:17-cv-60426-UU (S.D. Fla.

   Sept. 28, 2017)). As we demonstrate below, Plaintiffs’ discovery requests are either not relevant

   to a claim against Buzzfeed, or not tailored to avoid imposing an undue burden on Fusion, or

   both.4 And, indeed, as we discuss in Section III, even if the requested discovery was permissible

   under Rule 45, it cannot survive First Amendment scrutiny.5

                a. Confidential Sources (Doc. Requests 1, 7-9; Area of Inquiry 5)

             Plaintiffs seek to discover the identities of confidential sources in the Dossier, claiming

   that an Attorneys’ Eyes Only agreement sufficiently protects against the dangers of disclosure.

   3
        Ken Bensinger et al., These Reports Allege Trump has Deep Ties to Russia,
   https://www.buzzfeed.com/kenbensinger/these-reports-allege-trump-has-deep-ties-to-
   russia?utm_term=.pwD1qDxV7#.hv4y1J9zY. Plaintiffs included this article as an exhibit to their complaint. See
   Gubarev v. Buzzfeed, Compl. for Damages, Ex. 2, No. 1:17-cv-60426-UU (S.D. Fla. Feb. 28, 2017).
   4
     Fusion agreed that its pre-publication communications with Buzzfeed and/or Ben Smith concerning the publication
   of the Dossier were relevant to Plaintiffs’ defamation claim against Buzzfeed and, therefore, agreed to produce such
   documents. Mot. at 17 n.8. Fusion searched for, but did not find, any such communications. Ex. 3 (Email from
   Steve Salky to Evan Fray-Witzer, Sept. 12, 2017).
   5
     Plaintiffs consistently refer to our arguments as “frivolous” or not able to be made with a straight face or similarly
   pejorative descriptions. We believe the Court is able to recognize that such rhetoric is not useful and we will not
   respond to their misuse of such adjectives.

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   But Plaintiffs exaggerate both their need for this information and the protection provided by their

   attorneys’ agreement to not share the information with their clients or the attorneys in England

   prosecuting their parallel claims against Christopher Steele.

            Plaintiffs claim that the December Memo in its unredacted form is relevant because, they

   speculate, it contains the name or names of a person or persons who provided the allegedly

   defamatory information about Plaintiffs to Christopher Steele. Opp’n 6-7. “Nothing could be

   more relevant to the underlying action,” they exaggerate. Id. This is far from the case.6

   Buzzfeed published the entire Dossier, including the December Memo, not only without

   claiming the information was true, but specifically volunteering that its own journalists did not

   know if the information was true. See supra, footnote 3. Thus, Buzzfeed has never claimed that

   it relied on any of the sources in deciding to publish the December Memo, making their identities

   far from a critical matter in dispute in the Buzzfeed litigation. Indeed, as counsel for Buzzfeed

   explained in a recent discovery hearing, “[g]enerally, when someone seeks to compel the identity

   of a source, the reporter relied on that source for the truth; the source who gave the information

   is known only to the reporter. That’s not the case here. The alleged defamatory statement that

   the Plaintiffs were – had networks that were involved in hacking the DNC. We know who the

   source of that information is. It’s Christopher Steele. . . . Buzzfeed said: It’s unverified. We

   don’t know the name of the source.” Ex. 4 (Disc. Hr’g Tr. 25-26).

           As Plaintiffs reveal in their opposition, what they really want to know is “whether Fusion

   (or its contractors, such as Mr. Steele) had ever utilized the same source previously and what

   basis Fusion had to believe the information received was reliable (if it did so believe).” Opp’n 7.

   What Fusion believed about the alleged source or its reliability is not at all relevant to Plaintiffs’


   6
    Despite claiming that the unredacted December Memo is critical, after seeking a letter of request to depose
   Christopher Steele, they have not pursued that deposition. Ex. 4 (Disc. Hr’g Tr. 26).

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   case against Buzzfeed.7 That kind of information would, tellingly, only be arguably relevant to a

   claim against Fusion.

           Plaintiffs make an additional argument that discovery of the source(s) is necessary

   because, “although it seems incredibly unlikely that Mr. Steele’s source . . . was a government

   official, knowing the identity of the source will confirm the inapplicability of” the fair reporting

   privilege, which “gives the media a qualified privilege to republish statements of reports of

   government officials.” Opp’n 7 (quoting Steven H. v. Duval Cty. Sch. Bd., 1999 U.S. Dist.

   LEXIS 23349 (M.D. Fla. Sept. 3, 1999)). Leaving aside Plaintiffs’ admission that this discovery

   is “incredibly” speculative, the fair reporting privilege does not apply to the statements/reports of

   foreign government officials, rendering the argument meritless. See, e.g., OAO Alfa Bank v. Ctr.

   for Pub. Integrity, 387 F. Supp. 2d 20, 42 (D.D.C. 2005); Restatement (Second) of Torts § 611

   cmt. d (1977) (limiting the scope of the fair reporting privilege to reports or actions by “any

   officer or agency of the government of the United States, or of any State or of any of its

   subdivisions”).

           Balanced against the identity of the sources being irrelevant to the central issues in the

   underlying litigation is the danger to the sources’ safety if their identities were to be revealed.

   Plaintiffs’ assurance that Mr. Gubarev now “liv[e]s in Cypress with his wife and children”

   (presumably, Plaintiffs mean Cyprus) has no bearing whatsoever on those safety risks. Opp’n

   17. Disputing that disclosure of the identities of the sources would put those sources’ lives at

   risk is willful and dangerous ignorance of reality. See, e.g., Nine months, nine prominent



   7
     Buzzfeed has already revealed in discovery that it is not aware of any conversations with any third parties about
   the Dossier in which any Plaintiff was referenced. Ex. 1 (Resps. & Objs. of Def. Buzzfeed, Inc. to Pls.’ 1st Set of
   Interrogs., No. 10, No. 0:17-cv-60426-UU (S.D. Fla. Sept. 20, 2017)). Further, as part of its agreement to produce
   certain nonprivileged documents, Fusion searched for and did not find any pre-publication communications between
   Buzzfeed/Smith and Fusion concerning the publication of the Dossier. Ex. 3 (Email from Steve Salky to Evan Fray-
   Witzer, Sept. 12, 2017).

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   Russians dead, http://www.cnn.com/2017/03/24/europe/dead-russians/index.html; Non-Party

   Fusion GPS’s Motion to Quash Third-Party Subpoena or, in the Alternative, for a Protective

   Order (“Mot.”), Ex. 9 (Fusion Decl. ¶ 17).8

           Plaintiffs make much of the “Attorneys’ Eyes Only” agreement between counsel. That

   agreement was requested by Fusion’s counsel to prevent Plaintiffs from improperly using

   discovery obtained from this subpoena in Plaintiffs’ defamation lawsuit in the United Kingdom

   against Christopher Steele. Although Plaintiffs quote Fusion counsel’s proposed agreement, they

   fail to acknowledge their response, which was as follows:

                    [W]e will agree not to share the documents (or testimony) with
                    either British counsel or our clients with the caveat that we reserve
                    the right to move to share the information with our clients if it
                    becomes necessary to do so in connection with the Buzzfeed
                    litigation. (And, obviously, once it goes to trial, the information is
                    public...)

   Ex. 2 (Email, Evan Fray-Witzer to Steve Salky (Aug. 29, 2017)). That agreement obviously

   does not protect source identity from ultimate disclosure given the caveat that “once it goes to

   trial, the information is public.” Id.

           Furthermore, an “Attorneys’ Eyes Only” agreement—and particularly the one agreed to

   by Plaintiffs’ counsel—is insufficient under the circumstances because “the consequences of

   accidental disclosure are too severe.” In re the City of New York, 607 F.3d 923, 936 (2d Cir.

   2010). As the Second Circuit has explained, the “‘attorneys’ eyes only’ procedure works in

   some commercial litigation” because “[i]f a party in a commercial suit obtains a competitor’s

   trade secrets, at worst the party will gain an unfair financial advantage over his competitor.

   Though such an injury is serious, it involves money, not public safety, and it can usually be

   remedied by an injunction or money damages.” Id. Where discovery “endanger[s] the safety” of

   8
    Although Plaintiffs repeatedly state that Mr. Steele has provided the names of his sources to the FBI (see Opp’n 3,
   17 n.3), they provide no factual support for that statement.

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   individuals, however, an “attorneys’ eyes only” designation may be insufficiently protective. Id.

   at 936-37 (holding that the disclosure of police reports on an “attorneys’ eyes only” basis “would

   provide insufficient protection for the confidential law enforcement information at issue”). Such

   is the case here.9

                b. General Information about Fusion (Area of Inquiry 1)

           Plaintiffs claim that general background information about Fusion is relevant because

   Buzzfeed may argue that “it was neither negligent nor reckless in relying on the accuracy of the

   information disseminated by Fusion.”              Opp’n 10.       This claim is, in the first place, pure

   speculation. Neither at the time of publication nor in the underlying litigation has Buzzfeed ever

   argued that it relied on the accuracy of “information disseminated by Fusion.”10 Furthermore,

   Fusion did not author the December Memo or “disseminate” it to Buzzfeed—as Plaintiffs well

   know. See Ex. 4 (Disc. Hr’g Tr. 8-9) (Plaintiffs’ counsel acknowledging that “Buzzfeed didn’t

   get the dossier from [Fusion]”).

           Moreover, any negligence or recklessness on Buzzfeed’s part in publishing the December

   Memo would turn on what Buzzfeed knew or believed at the time of publication. Information

   “concerning Fusion’s background, the services it performs, how it collects and disseminates

   information, how it verifies information collected, and the intended purposes of such

   information,” is not relevant to Buzzfeed’s state of mind at the time of publication. Even if what

   Buzzfeed knew or believed about Fusion’s background and services was potentially relevant


   9
     In re Domestic Drywall Antitrust Litigation also explains why an attorneys’ eyes-only protective order does not
   mitigate the undue burden imposed by compelling disclosure of confidential sources. 300 F.R.D. 234, 247 (E.D. Pa.
   2014). The court noted that, unlike a trade secret which can continue to serve its purpose just as well after it is
   disclosed so long as a protective order is in place, any disclosure whatsoever of a confidential source will
   compromise that source’s cooperation. Id.
   10
     To the contrary, Buzzfeed has stated that it is “not currently aware of any [] conversations” between Buzzfeed’s
   agents, reporters and/or editors and any third parties in which any of the Plaintiffs were referenced. Ex. 1, at
   Interrog. Resp. No. 10.

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   under Plaintiffs’ speculative theories, that information must be sought from Buzzfeed and not

   Fusion.

             In seeking this information, including about “how it collects and disseminates

   information, how it verifies information collected, and the intended purposes of such

   information,” it appears likely that Plaintiffs are seeking to discover information to potentially

   use against Fusion in a new lawsuit.

                c. Fusion’s Clients and Contractors (Areas of Inquiry 2-4, 6)

             Plaintiffs argue that the identity of Fusion’s clients and/or contractors is relevant because

   it “may well shed light on any bias (or lack of bias) that Fusion had as it went about collecting

   information for the Trump Dossier and the December Memo” and/or the “biases or motivations .

   . . of the individuals retained.” Opp’n 10-11 (emphasis added). But any bias that Fusion or its

   contractors may or may not have had is utterly irrelevant to a claim against Buzzfeed.11 Plaintiffs

   write as if they are suing Fusion; indeed, it is notable (and startling) that in articulating the

   purported relevance of the identity of Fusion’s clients and contractors to their suit against

   Buzzfeed, they do not even mention Buzzfeed. Id.

             Furthermore, contrary to Plaintiffs’ assertion, any such purported bias of Fusion arising

   out of its client(s) would not “shed light on the question of the veracity of the information” in the

   December Memo. Id. at 11. The December Memo was not produced for Fusion’s client(s) but

   rather was created by Christopher Steele after the client engagement had ended. Plaintiffs

   themselves have recognized these facts. See Opp’n 3; see also id., Ex. 1 (Steele Defence ¶ 18-


   11
      This is particularly true given that Buzzfeed did not know the identity of Fusion’s clients. Mot. Ex. 9 (Fusion
   Decl. ¶ 9). Buzzfeed stated when it published the Dossier that it “was prepared for political opponents of Trump.”
   Ken      Bensinger      et    al.,   These    Reports    Allege    Trump      has   Deep       Ties   to    Russia,
   https://www.buzzfeed.com/kenbensinger/these-reports-allege-trump-has-deep-ties-to-
   russia?utm_term=.pwD1qDxV7#.hv4y1J9zY; Gubarev v. Buzzfeed, Compl. for Damages, Ex. 2, No. 1:17-cv-
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   21; Defs. Resp. to Claimants’ Req. for Further Information Pursuant to CPR Pt. 18 at 2, 5 (“The

   December memorandum was not created or provided to Fusion pursuant to any contract.”)).

   Thus, the notion that the identity of Fusion’s client(s) could somehow reveal a bias in the

   information in the December Memo is far-fetched at best.

              Fusion has a strong interest in maintaining the confidentiality of its clients and compelled

   disclosure would have adverse consequences for its business, thereby imposing an undue

   burden.12 See Mot. Ex. 9 (Fusion Decl. ¶ 12) (stating that compliance with the subpoena “will

   make it harder for Fusion GPS to attract clients, collaborate with other like-minded organizations

   and individuals, and hire contractors and others to assist Fusion GPS in its work”); id. ¶ 16 (“If

   Fusion GPS was forced to expose our clients’ identity, those clients would be exposed to the

   kind of harassment to which Fusion GPS has been subjected [as a result of the publicity around

   the Trump Dossier].”); Mot., Ex. 12 (John Doe Decl. ¶¶ 4-6) (“Had I known that my affiliation

   with Fusion GPS would not be kept confidential, I would not have worked with them. Further I

   would be less inclined to hire Fusion GPS in the future if I knew that my engagement of them

   would not be kept confidential.”). Balancing the weightiness of Fusion’s interest against the lack

   of relevance of the requested information, the Court should deny Plaintiffs’ request. Cf. In re

   Domestic Drywall Antitrust Litig., 300 F.R.D. 234, 248 (E.D. Pa. 2014) (noting that disclosure of

   “one of the most sensitive and critical aspects of its business” was a “weighty interest” for a

   nonparty and holding that confidential information should be protected from disclosure).

                   d. Payments to Fusion GPS in connection with the Dossier (Area of Inquiry 7)

              Plaintiffs make similar arguments in support of their request to discover payments made

   to Fusion in connection with the Dossier as they do about their discovery request for the identity

   of Fusion’s clients.            They assert that information about such payments “may” lead to
   12
        We address Fusion’s First Amendment interests in protecting the confidentiality of its clients in Section III below.

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   “information concerning biases in the information-gathering process” because “[i]f, for example,

   Fusion was paid for each memo it produced, it would have incentive [sic] to continue to produce

   memos, regardless of whether or not it had actually obtained any reliable or credible

   information.” Opp’n 11. Such speculation is unlikely to lead to admissible evidence against

   Buzzfeed given, among other reasons, that the December Memo was not created pursuant to any

   client engagement from which payment may have been rendered. Id., Ex. 1 (Steele Defence

   ¶ 18-21; Defs. Resp. to Claimants’ Req. for Further Information Pursuant to CPR Pt. 18 at 2, 5).

              e. Fusion’s Involvement in the Creation of the December Memo (Areas of Inquiry 8-
                 11)

          Plaintiffs find it “hard to understand how Fusion can argue to this Court with a straight

   face that inquiries concerning the creation of the December Memo is [sic] not relevant to

   Plaintiffs’ claims that the December Memo was defamatory.” Opp’n 11. And yet, despite this

   rhetoric, Plaintiffs offer no theory whatsoever as to how this information would be relevant to

   their defamation claim against Buzzfeed. See Fed. R. Civ. P. 26(b)(1), advisory committee’s

   note to 2015 amendment (“A party claiming that a request is important to resolve the issues

   should be able to explain the ways in which the underlying information bears on the issues . . .

   .”). Plaintiffs’ efforts to use a Rule 45 subpoena to discover Fusion’s role (or non-role) in the

   creation of the December Memo and what it did to verify the allegations reek of an improper

   attempt to garner evidence for a claim against Fusion, particularly since Plaintiffs know that

   Fusion did not write the December Memo and that Christopher Steele provided that Memo to

   Fusion on an unsolicited basis. Opp’n, Ex. 1 (Steele Defence ¶ 18-21; Defs. Resp. to Claimants’

   Req. for Further Information Pursuant to CPR Pt. 18 at 4-5). Given that Plaintiffs have not

   articulated any explanation of the relevance of this discovery in a claim against Buzzfeed and the




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   information appears more likely to be used in a claim against Fusion, Plaintiffs’ requests should

   be denied.

                f. Provision of Dossier and/or the December Memo to Media Outlets and Other
                   Third Parties (Area of Inquiry 12, 15, 16; Doc. Request 11)

          Plaintiffs claim that their discovery requests for information about the provision of the

   Dossier to media outlets and other third parties is relevant on the grounds that they are “entitled

   to learn what warnings (if any) Fusion provided to those to whom they gave copies of the Trump

   Dossier” because “such information is clearly relevant and might lead to Plaintiffs learning what

   Buzzfeed was told when it received its copy of the dossier.” Opp’n 12. The proper source of

   information of “what Buzzfeed was told when it received its copy of the dossier” is Buzzfeed,

   the defendant in the litigation—particularly given that, as Fusion has already told Plaintiffs, it did

   not give the Dossier to Buzzfeed. Ex. 4 (Disc. Hr’g Tr. 8-9). Discovery requests in non-party

   subpoenas are unduly burdensome (as well as unreasonably cumulative and duplicative) if they

   seek information that is equally available (and, here, more readily available) from parties to the

   litigation. See, e.g., Educ. Fin. Council v. Oberg, 2010 WL 3719921, at *3 (D.D.C. Mar. 8,

   2010); Nidec Corp. v. Victor Co. of Japan, 249 F.R.D. 575, 577 (N.D. Cal. 2007) (“There is

   simply no reason to burden nonparties when the documents sought are in possession of the party

   defendant.”); see also In re Mot. to Compel Compliance with Subpoena Direct[ed] to Dep’t of

   Veterans Affairs, 257 F.R.D. 12, 19 (D.D.C. 2009) (“[E]ven modifying the subpoena to seek this

   limited information is unduly burdensome because of the absence of any showing that the

   information sought is not available from other sources.”).

          What Fusion may or may not have told third parties other than Buzzfeed about the

   Dossier is not relevant to Plaintiffs’ claim against Buzzfeed and further shows that the subpoena

   is for the purpose of building a case against Fusion. Indeed, Plaintiffs make several unsupported


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   statements in their opposition that further reveal Plaintiffs’ focus on a potential action against

   Fusion for publishing the December Memo to parties other than Buzzfeed. See, e.g., Opp’n 1

   (asserting that Fusion “aggressively disseminate[d] defamatory statements” and “aggressively

   marketed” the defamatory statements to reporters).

                g. “Any and all” information concerning Plaintiffs (Areas of Inquiry 17-19, Doc.
                   Requests 2-4)

             Fusion objected to the discovery requests seeking “any and all information concerning”

   Plaintiffs and any and all documents “concerning” Plaintiffs on the grounds that the requests

   contain no limitations in context, time, or nature, and are completely untethered from the

   allegedly defamatory statements at issue in the Buzzfeed litigation. In their opposition, Plaintiffs

   respond with derogatory rhetoric—contending that the objection is “simply frivolous,” “absurd,”

   has “no legitimate basis,” and “cannot possibly be seen to be made in good faith”—but do not

   articulate any theory of relevance whatsoever or explain why the requests are not unduly

   burdensome. Opp’n 12. Forcing Fusion to dig through all of its non-Dossier-related files for any

   reference from any time in any context to any Plaintiff is the definition of an unduly burdensome

   fishing expedition. These requests are not remotely tailored to discover evidence that could be

   relevant to Plaintiffs’ claim against Buzzfeed and should therefore be denied. Andrades, 286

   F.R.D. at 66.

      III.      The First Amendment Protects Fusion from Compelled Disclosure of Political
                Activities and Associations.

             Plaintiffs’ subpoena seeks to expose political affiliations and political activities which

   Fusion and its clients sought to engage in anonymously and confidentially. Plaintiffs do not

   dispute that the compelled disclosure of the information sought in their subpoena would

   undermine, deter, and chill Fusion and its clients’ First Amendment rights. They ignore the



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   declarations submitted in support of Fusion’s motion to quash setting forth the impact that

   compelled disclosure would have on these First Amendment rights. Mot. Exs. 9, 12. And,

   because they cannot, they do not even attempt to argue that the information sought would satisfy

   the D.C. Circuit’s test for discovery that implicates the First Amendment.

           Instead, Plaintiffs contend that because Fusion conducts “paid opposition research” it

   cannot be “a political organization” entitled to First Amendment protections. Opp’n 13.13 In a

   post-Citizens United era, where corporations and other entities’ First Amendment rights are

   indisputable, this argument should be rejected out of hand. Citizens United v. Fed. Election

   Comm'n, 558 U.S. 310, 342 (2010). In fact, Citizens United – the organization that was the

   subject of the Supreme Court case – was itself essentially a non-profit opposition research entity,

   producing “controversial” documentaries about public policy issues and politicians, including

   then-presidential candidate Hillary Clinton.                   See What We Do, Citizens United,

   http://www.citizensunited.org/what-we-do.aspx (last visited Oct. 10, 2017); see also Citizens

   United, 558 U.S. at 319-20. Fusion is no less entitled to the First Amendment’s protections than

   Citizens United or any other corporation. And, “the First Amendment’s protection ‘extends not

   only to the organization itself, but also to its staff, members, contributors, and others who

   affiliate with it.’” Wyoming, 208 F.R.D. at 455 (quoting Int'l Union, 590 F.2d at 1147).

           In arguing that the First Amendment does not apply to the identity of Fusion’s clients,

   Plaintiffs disregard United States v. Garde, 673 F. Supp. 604, 607 (D.D.C. 1987), a case from

   this district which explicitly protected from disclosure the identity of an organization’s clients on


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      They also construct a strawman argument, insisting that Fusion “is saying that it is entitled to call a press
   conference; disseminate defamatory information about Plaintiffs to the gathered reporters (and others) and then
   refuse to even reveal what it said and to whom, because … First Amendment.” Opp’n 15-16. While Plaintiffs may
   enjoy their sound bite, this glibness belittles the substantial First Amendment implications of their subpoena, and
   appears based on the inaccurate premise that Plaintiffs are suing Fusion, rather than Buzzfeed.


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   First Amendment grounds. In that case, the Nuclear Regulatory Commission subpoenaed a

   whistleblowers organization to obtain the names of the organization’s clients and other

   informants who had provided the group with information about safety issues at a nuclear power

   plant. The court held that it was “beyond dispute” that the organization’s activities “serve as a

   vehicle for political expression and association” and, thus, First Amendment rights were at issue.

   Id. at 607. After examining the government’s purported interest in the information, the court

   refused to enforce the subpoena given the impact on the organization’s right to association and

   the government’s failure to satisfy its burden that the subpoena was narrowly drawn to avoid

   unnecessary infringement of associational rights. Id.

          Rather than confronting this authority that client names can be protected from disclosure

   on First Amendment grounds, Plaintiffs reach for the unrelated and inapposite doctrine of

   attorney-client privilege and state the unremarkable fact that the attorney-client privilege does

   not protect client identities. Opp’n 16. But, of course, the attorney-client privilege seeks to

   protect only the communications between an attorney and his client; it has nothing whatsoever to

   do with the right to associate and/or speak anonymously under the First Amendment.

          In short, Plaintiffs’ transparent attempt to give short shrift to Fusion’s First Amendment

   arguments is revealing and unavailing. Under the test mandated by the D.C. Circuit, this Court

   must balance the First Amendment interests against the “need for the information sought,” by

   assessing whether the information sought “goes to the heart of the lawsuit” and whether the

   requesting party has made reasonable attempts to obtain the information from alternative

   sources. Wyoming, 208 F.R.D. at 455; see also Black Panther Party v. Smith, 661 F.2d 1243,

   1266 (D.C. Cir. 1981); Int’l Union, 590 F.2d at 1152. None of Plaintiffs’ document requests or

   requests for information to which Fusion objected in its motion “go to the heart” of their lawsuit



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   against Buzzfeed. To the contrary, they are, at most, of marginal relevance. Additionally,

   Plaintiffs have made no showing whatsoever that they have attempted to get any of the requested

   information from other sources. Accordingly, under the D.C. Circuit’s test, Plaintiffs’ discovery

   requests should be denied.14

                                                     Conclusion

           For the foregoing reasons, Fusion respectfully requests that the Court quash the subpoena

   or, in the alternative, issue a protective order in accordance with Fusion’s motion to quash.


   Dated: October 10, 2017                                    Respectfully submitted,

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                                                              Attorneys for Non-Party Fusion GPS




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      Plaintiffs also claim that Fusion must “comply with Rule 45’s requirement that a party withholding subpoenaed
   information under a claim that it is privileged must describe the nature of the withheld documents, communications,
   or tangible things . . . [to] enable the parties to assess the claim.” Opp’n 13. Fusion does not know why Plaintiffs
   included this complaint in their opposition—counsel for Fusion and counsel for Plaintiffs discussed a privilege log
   and agreed that Fusion would produce one, if necessary, after the Court ruled on this motion.

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                                   CERTIFICATE OF SERVICE

         I hereby certify that on this 10th day of October, 2017, the foregoing was served on all

   counsel of record via CM/ECF.


                                                  /s/ Rachel F. Cotton
                                                  Rachel F. Cotton
